                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 7
 8                                UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                                ********
11   UNITED STATES OF AMERICA, )                   CASE NO.: CR-F-01-5415 AWI
                                   )
12         Plaintiff,              )               DEFENDANT AUGUST GHILARDUCCI’S
                                   )               APPLICATION FOR EXONERATION OF
13   v.                            )               PROPERTY BOND AND RECONVEYANCE
                                   )               OF REAL PROPERTY AND PROPOSED
14   AUGUST C. GHILARDUCCI,        )               ORDER
                                   )
15         Defendant.              )
     ______________________________)
16
17                  The Defendant, August C. Ghilarducci, by and through his attorney-of-record, Harry
18   M. Drandell, hereby requests an Order exonerating the Property Bond posted in this action and for
19   a deed of reconveyance for real property posted as the property bond.
20                  On or about January 7, 2003, the Honorable Dennis L. Beck, Magistrate Judge,
21   granted August Ghilarducci’s pretrial release from custody on a $500,000.00 bond. The $500,000.00
22   bond consisted of (1) a $250,000.00 Property Bond posted by Mr. Ghilarducci’s sister, Mrs. Susan
23   Huiner, and their parents, August F. Ghilarducci, Sr., and Maria Ghilarducci, and (2) a $250,000.00
24   Surety Bond posted by August F. Ghilarducci, Sr., which was secured with three annuities in his
25   name.
26                  On or about April 11, 2003, the conditions of Mr. Ghilarducci’s pretrial release were
27   modified, to wit: the $250,000.00 Surety Bond posted by August F. Ghilarducci, Sr., was exonerated
28   by an Order issued from the Honorable Anthony W. Ishii, District Court Judge. Consequently, Mr.
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 1   Ghilarducci’s pretrial release then was secured only by the real property owned and posted by Susan
 2   Huiner and her parents with a deed of trust and promissory note for $250,000.00 placed in the Court
 3   Clerk’s possession.
 4                  On April 5, 2005, after a trial by jury, Mr. Ghilarducci was convicted of Count 4,
 5   Count 5 and Count 9 of the Indictment; and, on June 20, 2005, the court sentenced Mr. Ghilarducci
 6   to the custody of the United States Bureau of Prisons for a total term of 33 months as to counts 4,
 7   5 and 9 of the Indictment.
 8                  Since Mr. Ghilarducci has been sentenced and is in the custody of the Federal Bureau
 9   of Prisons, he respectfully requests that the Property Bond in this matter be immediately exonerated
10   and that the real property posted as collateral for the bond be reconveyed to Susan Huiner.
11   Dated: August 10, 2005                                       Respectfully submitted,
12                                                        LAW OFFICES OF HARRY M. DRANDELL
13
                                                          /s/ Harry M. Drandell
14                                                        _____________________________________
                                                          HARRY M. DRANDELL,
15                                                        Attorney for Defendant,
                                                          AUGUST C. GHILARDUCCI
16
17
18
19                                               ORDER
20                  IT IS HEREBY ORDERED that the Property Bond in the above-captioned case be
21   exonerated and title to the real property be reconveyed to Susan Huiner.
22   IT IS SO ORDERED.
23   Dated:     August 10, 2005                         /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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